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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



                                             Master File No. 17-8373 (RBK/AMD)

 In re NAVIENT CORPORATION                   PLAINTIFFS’ NOTICE OF
 SECURITIES LITIGATION                       MOTION FOR FINAL APPROVAL
                                             OF SETTLEMENT

                                             CLASS ACTION

                                             Motion Day: April 12, 2022




       PLEASE TAKE NOTICE that under Rule 23 of the Federal Rule of Civil
 Procedure, on April 12, 2022 at 3:00 p.m., in Courtroom 4D of this Court located at
 4th & Cooper Street, Camden, New Jersey 08101, Plaintiff will move for an Order
 granting final approval of the proposed class action settlement.
       This motion is based upon this notice of motion and brief, declarations, and
 exhibits filed in support hereof.
       Plaintiff also submits a proposed order granting the motion.
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 Dated: March 8, 2022               LEVI & KORSINSKY, LLP

                                    s/ Adam M. Apton
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